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Exhibit J (part 5)
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Agency for approval. Recordation of the notice shall occur
concurrently with the final map, (Water Resources Agency)

(Water Resources Agency)

193. WRO042 LANDSCAPING REQUIREMENTS (WR) Submit a recorded notice to the Water Applicant Prior to
NOTE ON FINAL MAP: A notice shall be recorded on the Resources Agency for review and Recordat
deed for each lot stating: “The front yards of all homes shall | approval. ion of
be landscaped at the time of construction, Low water use or Final
drought tolerant plants shall be used together with water (A copy of the County's standard notice Map
efficient irrigation systems.” Prior to recordation of the final | can be obtained at the Water Resources
map, a copy of the completed notice shall be provided to the Agency.)

Water Resources Agency for approval. Recordation of the

notice shall occur concurrently with the final map. (Water Applicant to record natice. Applicant

Resources Agency) Concurre
nt with
Recordat
ion of
Final
Map

194. WR0044 WATER USE INFORMATION (WR) Submit the WUNIQ to the Water Applicant Prior to
Prior to recordation of the final map, the applicant shall Resources Agency for review and Recordat
provide the Water Resources Agency a copy of the Water Use | approval ion of
& Nitrate Impact Questionnaire describing the pre- Final
development and post-development water use on the property. Map

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WR6046 C-C.&R, WATER CONSERVATION
PROVISIONS (WR)

Pricr to recordation of the final map, the applicant shall
provide the Water Resources Agency with a copy of the
subdivision Covenants, Conditions and Restrictions
containing the following provisions from Monterey County
Ordinance No, 3932: “All new construction incorporate the
use of low water use plumbing fixtures including, where
applicable, hot water recirculation systems; the front yards of
all homes shall be landscaped at the time of construction; low
water use or drought tolerant plants shall be used together
with water efficient irrigation systems; leak repair is the
property owner's responsibility; vehicle and building washing
Shall use hoses equipped with shutoff nozzles; no potable
water to be used for sidewalk washing; no water spillage into
streets, curbs, and gutters; no emptying or refilling of
swimming pools except for structural repairs or if required for
public health regulations; no fountains unless water is
recycled within the fountain.” (Water Resources Agency)

Submit the CC&Rs’ to the Water
Resources Agency for review and
approval.

Applicant

Recordat
ion of
Final
Map

Prior to

9

6.

WR0047 WASTE MANAGEMENT PLAN (WR)

Prior to issuance of any grading or building permits, the
applicant shall provide the Water Resources Agency a
Construction Site Waste Management Pian prepared by a
registered civil engineer that addresses the proper disposal of
building materials and other construction site wastes
including, but not limited to, discarded building materials,
concrete truck washout, chemicals, litter and sanitary wastes.
The Site Waste Management Pian must also address spill

Submit the plan to the Water Resources
Agency for review and approval.

Applicant

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prevention, control and clean up of materials such as
petroleum products, fertilizers, solvents, pesticides, paints and
cleaners, (Water Resources Agency)

i97,

STORMWATER DETENTION

The applicant shall provide the Water Resources Agency a
drainage plan prepared by a registered civil engineer
addressing on-site and off-site impacts with supporting
calculations and construction details. The plan shal! include
detention facilities adequate to store the difference between
the 100-year post-development runoff and the 10-year pre-
development runoff, while limiting discharge to the 10-year
pre-development rate, Pond(s), except for those on the golf
course, shall be fenced for public safety. Drainage
improvements shall be constructed in accordance with plans
approved by the Water Resources Agency and Public Works
Department. Reference Permit Conditions No.'s 57
(Mitigation 5.9-1) and 100 (PWSP0016). (Water Resources
Agency)

Submit 3 copies of the drainage pian to
the Water Resources Agency for review
and approval.

Applicant

Prior to WRA
filing of
the final
map

198,

DRAINAGE NOTE

A note shall be recorded on the final map stating: “Any future
development on these parcels will require a drainage plan to
be prepared by a registered civil engineer or architect
addressing on-site and off-site impacts. The plan shall be
submitted to the Water Resources Agency for approval,” The
applicant shall provide the Water Resources Agency a copy of
the map to be recorded. (Water Resources Agency)

Submit a copy of the final map ta be
recorded, with appropriate note, to the
Water Resources Agency for review and
epproval,

Applicant

Prior to WRA
filing the
final map

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COMPLETION CERTIFICATION
The applicant shall provide the Water Resources Agency

Submit a letter to the Water Resources

Applicant

Prior to

Agency, prepared by a registered civil issuance
certification from a registered civil engineer or licensed engineer or licensed contractor, of any
contractor that stormwater detention facilities have been certifying compliance with approved building
constructed in accordance with approved plans. (Water drainage plan. permits
Resources Agency)

200, WELL INFORMATION Submit all applicable well information to [Applicant Prior to WRA
The applicant shall provide the Water Resources Agency the Water Resources Agency for review commen
information on the well to serve the project including a map and approval. cement
showing the well location and any available well logs/e-logs. of use
(Water Resources Agency)

201. INCLUSIONARY CONDITION Applicant shalt execute a Master Applicant Prior to
The project shall provide a minimum of 18.6% of the total Developer Inclusionary Housing recordati
number of resideritial units as inclusionary housing units te be | Agreement or Development Agreement on of
located on the project site. Of the required 18.6%, a minimum | with the County that will provide the final map
of 5.6% shall be in the very low-iricome category, 5.6% in the | specific requirements for the project’s
low-income category, and 7.4% in the moderate-income inclusionary Housing component, in
category. Prior to the recordation of the final subdivision map | substantial compliance with Ordinance
that will cover the entire development the developers and #04185 and the adapted Inclusionary
property owners shall execute a Master Developer Housing Administrative Manual.
inclusionary Housing Agreement or Development Agreement
with the County that will provide the specific requirements for
the project’s [nclusionary Housing component, in. substantial
compliance with Ordinance #04185 and the adopted
Inclusionary Housing Administrative Manual. As set forth in
the Inclusionary Administrative Manual (Section II.

Marketing and Selection Procedures, subsection 2B), priority
shall be given to households with members who are either:
* _ Residents of the County of Monterey for a period of
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at least one year prior to application and/or;
* Include persons who have worked within the
County of Monterey for at least 6 months prior to
application.”
(Housing and Redevelopment}

of 180% of the County median income in effect at the time of
the occupancy of the workforce level units. Prior to the
recordation of the final subdivision map that will cover the
entire development the developers and property owners shall
execute a Master Developer Work Force Housing Agreement
or a development agreement with the County that sets forth
the specific requirements for the project’s workforce housing
component including, but not limited to, subsequent
regulatory agreements, the number of units to be provided, the
affordability levels, the affordability restrictions, the type and
location of units, the marketing and selection of buyers and
renters and the monitoring of the units and occupants by the
County. As set forth in the Inclusionary Administrative
Manual (Section Il. Marketing and Selection Procedures,
subsection 2B), priority shall be given to households with
members who are either:
« Residents of the County of Monterey for a period of
at least one year prior to application and/or;
* Include persons who have worked within the
County of Monterey for at least 6 months prior to

specific requirements for the project's
workforce housing component.

202. WORKFORCE HOUSING CONDITION Applicant shall execute a Master ‘Applicant Prior to
The project shall provide a minimum of 10.7% of the total Developer Work Force Housing recordati
number of residential units within the project as workforce Agreement or a development agreement on of
housing affordable ta households at a maximum income level | with the County that sets forth the final map

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application.”
(Housing and Redevelopment)

203, FIRE FLOW STANDARDS Submit evidence to the Division of Applicant Prior to EH
Design the water system improvements to meet fire flow Environmental Health that the proposed recordati
Standards as required and approved by the local fire protection | water system improvements have been on of
agency. (Environmental Health) approved by the local fire protection final map

agency.

204, INSTALL/BOND WATER SYSTEM IMPROVEMENTS | Submit evidence to the Division of ICA Licensed Prior to EH
The developer shall install the water system improvements to | Environmental Health that the water Engineer filing
and within the subdivision and any appurtenances needed or system improvement installation has /Applicant final map
shall enter into a Subdivision Improvement Agreement with been accepted by the regulating agency
the County to install the water system improvements and or that the developer has entered into a
provide security guaranteeing the performance of the Subdivision Improvement Agreement
Agreement, (Environmental Health) and has provided security acceptable to

the County.

205. WATER SERVICE CAN/WILL SERVE Submit written certification to the Applicant Priorto | EH
Provide to the Division of Environmental Health written Division of Environmental Health for filing a
certification, and any necessary certification from State review and approval. final map
agencies that a PUC regulated utility can and will supply andor
sufficient water flaw and pressure to comply with both Health issuance
and fire flow standards. (Environmental Health) ofa

building
permit
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ABANDONED WELLS

Prior to destruction, a permit for the CA Licensed | Priorto | EH

Destroy the existing abandoned weli(s) according to the destruction of the well(s) shall be Well filing a
standards found in State of California Bulletin 74 and all its obtained by a licensed well contractor Contractor/ final map
supplements, and Chapter 15.08 of the Monterey County from the Division of Environmental Applicant and/or
Code. The well shall not be considered abandoned if Health. After destruction submit the issuance
satisfactory evidence is provided that the well is functional, is | Well Completion Report to the Division ofa
used on a regular basis, and docs not act as a conduit for of Environmental Health building
contamination of groundwater, (Environmental Health} permit

207. RECYCLED WATER Submit plans to the California CA Licensed Priorto | EH
Wastewater applied for landscape irrigation shall meet or Department of Health Services (CDHS)} [Engineer filing a
exceed the requirements of Title 22, Division 4, Chapter 3 of | for review and approval. ‘Applicant final map
the California Code of Regulations or subsequently amended and/or
rules and regulations of the Department of Health Services. issuance
Specifically, water used for irrigation shali meet the standards of
of Section 60304 (Use of Recycled Water for Irrigation) & building
60310 (Use Area Requirements) of the California Code of permits
Regulations. (Environmental Health)

208. SEWER SERVICE CAN/WILL SERVE Submit certification to Environmental Applicant Prior to EH
Provide certification to the Division of Environmental Health | Health for review and approval. issuance
that a PUC regulated utility can and will provide sewer ofa
service for the proposed property/project. (Environmental building
Health) permit.

209. INSTALL/BOND SEWER SYSTEM IMPROVEMENTS | Submit evidence to the Division of CA Licensed Prior to EH
The developer shall install the sewer system improvements to | Environmental Health that the sewer Engineer filing the
and within the subdivision and any appurtenances needed or system improvement installation has /Applicant final
shall enter into a Subdivision Improvement Agreement with been accepted by the regulating agency parcel
the County to install the sewer system improvements and or that the developer has entered into a map.
provide security guarantecing the performance of the Subdivision Improvement Agreement
Agreement. (Environmental Health) and has provided security acceptable to

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the County.
210. HAZ MAT BUSINESS RESPONSE PLAN Contact the Hazardous Materials Owner! Prior to EH
Comply with Title 19 of the California Code of Regulations Prograrn of the Division of Applicant Final
and Chapter 6.95 of the California Health and Safety Code Environmental Health. Occupan
(Hazardous Material Registration and Business Response . ey/Conti
Plans) as approved by the Director of Environmental Health. nuous
(Environmental Health)
211. HAZARDOUS WASTE CONTROL Contact the Hazardous Materials Owner! Prior to EH
Comply with Title 22, Division 4.5 of the California Code of | Program of the Division of Applicant Final
Regulations and Chapter 6.50 of the California Health and Environmental Health, Occupan
Safety Code (Hazardous Waste Control} as approved by the cy/Contl
Director of Environmental Health. (Environmental Health) nuous
212. CURFFL Submit plans and necessary review fees [Applicant Priorto | EH
All improvements shall comply with the California Uniform to the Division of Environmental Health issuance
Food Facilities Law as approved by the Director of for review and approval. of
Environmental Health. (Environmental Health) building
permits.
213. POGLS/SPAS Submit plans and necessary review fees {Applicant Prior to EH
Plans for public pools/spas shall be approved by the Division | to the Division of Environmental Health issuance
of Environmental Health. (Environmental Health) for review and approval. of
building
permits.
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WELL LOTS Submit plans to the Divisia CA Licensed Prior to EH
Submit a tentative map indicating the proposed well lots, Environmental Health for review and Engineer/Appli | filing the
water distribution, and access easements for the water system | approval. cant | final
to the Director of Environmental Health for review and parcel
approval, Once approved, well lots and easements shall map.
appear as part of the final map, (Environmental Health)

215, WDRS FOR WWTP Submit verification from the Regional Applicant Prior to EH
Obtain a Waste Discharge Permit from the Regional Water Water Quality Control Board that waste the
Quality Control Board for a wastewater treatment plant and discharge requirements will be issued. issuance
disposal system. The permit shall be obtained prior to of any
irrigation of the golf course with wastewater and prior to the Health
issuance of any Health Department permits for the sewage Departm
treatment facility. (Environmental Health) ent

permits.

216, WWTP OPERATORS Submit copies of current licenses tothe |Operatorof | Priorto | EH
The operator of the collection, treatment and disposal systems | Division of Environmental Health for wastewater the
shall be licensed by the State of California and be qualified to | revicw and approval. treatment issuance
supervise all regular operation, maintenance, testing, and facility of any
reporting to appropriate Health and Water Quality Control Health
Agencies, including the Director of Environmental Health. Departm
(Environmenta] Health) ent

permits.

217. CONTAINMENT OF WASTEWATER Comply with Title 22 regulations for the +|Operator of On-going | EH
Wastewater shall not be permitted to flow, drain or seep into | application of recycled water and comply |wastewater
any natural waterway, pond or lake and shall be remain within | with Waste Discharge Requirements jtreatment
the designated disposal area(s) at all times. (Environmental issued by the California Regional Water [facility
Health) Quality Control Board.

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POND BERM MAINTENANCE

| Comply with Title 2 regu ations for the

Operator of

On-goin iE

EH

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A continuous program of rodent control, and inspection and application of recycled water and comply jwastewater
maintenance of pond berms, shall be implemented. with Waste Discharge Requirements treatment
(Environmental Health) issued by the California Regional Water {facility
Quality Controf Board.

219, POSTING SIGNS Comply with Title 22 regulations forthe |Operator of On-going | EH
All recycled water storage ponds and disposal areas shail be application of recycled water and comply [wastewater
posted at frequent intervals around the periphery to indicate with Waste Discharge Requirements treatment
that they contain treated wastewater and should not be issued by the California Regional Water {facility
entered. (Environmental Health) Quality Control Board.

220. BACKFLOW PREVENTION Comply with the California Code of Operator of On-going
The water supply for makeup landscaping or irrigation water | Regulations, Title 17, and install wastewater
required above and beyond the available quantity of treated backflow prevention devices to prevent —_ treatment
wastewater shall incorporate back-flow prevention as required | cross-connections between potable water {facility
by Title 17 of the California Code of Regulations or as and recycled water systems.
otherwise required by the Director of Environmental Health.
(Environmental Health)

221. MOSQUITO CONTROL Submit mosquito control plan to the ‘Operator of On-going | EH
Appropriate mosquito control measures for the reservoir shal] | Division of Environmental Health for —_ [wastewater
be implemented in accordance with standard practices of review and approval, treatment
mosquito abatement and control for open teservoits. facility
(Environmental Health)

222. SLUDGE REMOVAL Submit plan for sludge removal! to the ‘Operator of On-going | EH
Sludge shall be removed off-site to a suitable location Division of Environmental Health for wastewater
approved by the Director of Environmental! Health, review and approval. treatment
(Environmental Health) facility

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NITRATE ORDINANCE

Submit application and necessary fees to

Operator of — | Prior to

EH

The wastewater treatment facility shall meet the nitrogen the Division of Environmental Health for }wastewater the
discharge limitations found in Monterey County Code review and approval. Once approved treatment issuance
Chapter 15.23 (Nitrate Discharge Ordinance). obtain and maintain a valid permit to facility of
(Environmental Health) operate a discharge facility as required building
per Chapter 15.23 of the Monterey permits/
County Code. On-going

224, SCORE CARDS Submit copies of score cards to the Applicant Priorto | EH
Golf Course score cards shail include a printed notice to Division of Environmental Health for Occupan
course patrons that reclaimed wastewater is being used. The | review and approval. cy
language shall be subject to the review and approval of the .

Director of Environmental Health. (Environmental Health)

225. LAFCO/PUC ANNEXATION Submit certification to Environmental Applicant Pricrto | EH
Provide evidence from the C.P.U.C. and LAFCO that the Health for review and approval. recordati
property or appropriate portions thereof, has been annexed on of
into a PUC regulated utility water and sewer service areas. final
(Environmental Health) parcel

map

226.. PARKS Applicant shall provide proof of Applicant Prior to Parks
The Applicant shal] comply with Recreation Requirements dedication. recordati
contained in Section 19,12.010 (B} — Requirements, County on of
Subdivision Ordinance, Title 19, Monterey County Code, by final
providing dedicated land for park and recreation purposes parcel
reasonably serving all age groups residing within the map
subdivision as specified in the Specific Plan, (Parks)

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227,

PARKS
The Applicant shall comply with Section 19.12.010 (D) —
Standards and Formula for Dedication of Land — by providing
the County Parks Department with a conceptual site plan for
each park site, including a detailed description of the specific
recreational uses to be provided at each park consistent with
the Specific Plan, based on the anticipated residential
demographics of the proposed development, The Applicant
shall also provide a written explanation of how the types and
distribution of recreational uses and facilities meets the needs
of the future residents and how it meets the Subdivision Code
requirements for a wide variety of park and recreation uses.
The park plan shalt include one park site that is not less than
2.5 acres in size and which can accommodate a regulation
soccer field and parking. (Perks)

Applicant

Prior to
recordati
on of
final
parcel
map

Parks

228

SHERIFF

Prior to occupancy, the applicant shall comply with the
Monterey County Public Safety and Security Guidelines to the
satisfaction of the Monterey County Sheriff's Department.
Each of the 733 single-family units shall meet the required
conditions regarding security measures, addressing, doors,
windows, lighting, rooftops and openings, landscaping and
any miscellaneous requirements consistent with the Specific
Plan and the Combined Development Permit. (Sheriff
Marsha!-Coroner Public Administrator Department)

Applicant shall incorporate
specifications into design.

Applicant

USE PERMIT CONDITIONS FOR GOLF COURSE

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| NOISE ) — Applicant shall incorporate requirements antand | On-going
Golf course maintenance operations shall prohibit greens into golf course maintenance operations. |Golf Course
mowing within 125 feet of any residence and fairway mowing Operator ~

within 200 feet of any residence between the hours of 10:00
p.m. and 6:30 a.m. in accordance with Table 5,6-1 of the EIR
(Planning and Building Tuspection)

230. PLANNING AND BUILDING INSPECTION Applicant shall submit three copies of = [Applicant Prior to
Prior to issuance of a grading permit for the golf course, the plan to Planning and Building Inspection issuance
applicant shall prepare a Golf Course Management Plan. The | for review and approval, of
Management Pian shall include, but not be limited to, the grading
following elements: permit

* The use ofa state-of-the-art irrigation system that
can (1) calculate the evaporative loss which occurs
since the last irrigation cycle; (2) tell each sprinkler
head how much to apply to replace the lost water; (3)
apply water at a rate that will prevent runoff: (4)
regulates pressure at each head to get maximum
uniformity of water distribution and; (5) allow the
field staff to make site adjustments to compensate for
shade, slope, sun expasure, etc,

«= The reintroduction of drainage discharge water to the
atmosphere to biodegrade nutrients and pesticides
prior to the water entering drainage discharge
channels,

* The engagement of an experienced, Certified Golf
Course Superintendent capable of effectively
managing the golf course using the principles of
Integrated Pest Management.

» The use of a computer controlled boom sprayer to

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apply all approved nutrient sprays and biocides to the
golf course.

The adherence to Federal, State and County Laws
conceining the selection, storage, loading, use and
disposal of reguiated biocides.

The construction of a state-of-the-art maintenance
facility for storage of pesticides and herbicides.
Pests would be controlled, not eradicated, using a
variety of cultural, biological, and mechanical
practices, Pesticide applications would be made only
when there is no alternative measure of control.
Applications would not be made in winds in excess
of five miles per hour unless a spray shroud is used.
Notification of the application of a pesticide would
be made in accordance with California State Posting
Laws.

Green waste shall be composted and reused or
transported to an appropriate landfill disposal site.
The drainage system within the golf shall be
designed to pick up low flow runoff and direct it into
golf course water features to allow natural filtration
of water pollutants to occur, Where water features
are not proposed, low flow runoff would be directed
to biofiltration areas.

The use of a Certified Pesticide Applicator to apply
the recommended biocide to the target pest.

(Planning and Building Inspection)

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All exterior lighting for the golf course, including but not
limited to the clubhouse and driving range, shail be

| unobtrusive, harmonious with the local area, and constructed

or located so that only the intended area is illuminated and
off-site glare is fully controlled. The applicant shall submit
three copies of an exterior lighting plan which shall indicate
the location, type, and wattage of all light fixtures and include
catalog sheets for each fixture. The exterior lighting plan
shall be subject to the approval of the Director of Planning
and Building Inspection prior to issuance of building permits.
{Planning and Building Inspection)

Submit three copies of the lighting plans
to Planning and Building Inspection for
review and approval.

Applicant

Prior to
issuance
of
building
permit

232,

The applicant shall submit a parking layout and circulation
plan for the Golf Club (Lot 2A) for review and approval by
the Director of Public Works and Director of Planning and
Building Inspection Department. The parking requirements
shall meet the standards of Title 21. The applicant shall
obtain approval of the parking and layout plan prior to the
issuance of a building permit for the polf club, (Planning
and Building Tuspection)

Applicant's engineer shall prepare
parking layout and circulation plan.

Applicant's
Engineer

Prior ta
issuance
of
building
permit’

233.

The parking and circulation area at the Golf Club (Lot 2A)
shall be maintained in a mud-free and dust-free condition.
(Planning and Building Inspection)

Applicant shall incorporate this

requirement into maintenance operations.

Applicant

On-going

234.

The applicant shall submit a landscaping plan for the Golf
Club (Lot 2A) for review and approval by the Director of
Planning and Building Inspection. The landscaping plan shal!
be in sufficient detail to identify the location, species and
sizes of the proposed jandscaping materials. The applicant
shall obtain approval of the landscaping plan prior to the
issuance of a building permit for the Golf Club, Landscapin

Landscape architect shall prepare plan.
Submit three copies of plan to Planning
and Building Inspection for review and
approval.

Applicant

Prior to
issuance
of
building
permit

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shall be installed prior to occupancy of the Golf Ctub,
(Planning and Building Inspection)

235,

All landscaped areas shall be continuously maintained by the
applicant and all plant material shalt be continuously
maintained in a litter-frec, weed-free, healthy, growing
condition. (Planning and Building Inspection)

Applicant shall incorporate this
requirement into maintenance operations.

Applicant

On-going

236.

Mandatory garbage collection shall be required and the
project shall comply with the Monterey County Solid Waste
Management Plan including recycling efforts.
(Environmental Health)

Applicant shall incorporate this
requirement into maintenance operations.

Applicant

On-going

USE PERMIT FOR

WASTEWATER TREATMENT FACILITY

237,

Prior to issuance of building permits for the wastewater
treatment facility, a detailed noise study shall be completed by
a qualified acoustical consultant to document that noise
attenuation has been included in the facility to assure that
noise levels at surrounding sensitive receptors will not exceed
levels identified in Table 5.6-1 in the EIR. In addition, a
qualified consultant shall prepare an odor control study.

(Planning and Building Inspection)

Qualified acoustical consultant shall
prepare a noise study. In addition, a
qualified consultant shall prepare an odor
control study.

Applicant

Prior to
issuance
of
building
permit

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PUBLIC UTILITIES AND SERVICES Applicant shal} submit three copies of = [Applicant Prior to
Prior to issuance of building permits for the wastewater mosquito abatement plan to issuance
treatment facility, a mosquito abatement plan shall be Environmental Health. of
submitted to Monterey County Health Department and to the building
Monterey County Mosquito Abatement District for review permits
and approval to reduce potential impacts from proposed
reclaimed water impounds. (Planning and Building
Inspection and Pubiic Works

239, Alf exterior lighting for the wastewater treatment facility shall | The applicant shall submit three copies [Applicant Prior to
be unobtrusive, harmonious with the local area, and of an exterior lighting plan which shall issuance
constructed or located so that only the intended area is indicate the location, type, and wattage of
illuminated and off-site glare is fully controlled. The of all light fixtures and include catalog building
applicant shall submit three copies of an exterior lighting plan | sheets for each fixture. The exterior permit
which shall indicate the location, type, and wattage of all tight | lighting plan shall be subject to approval
fixtures and include catalog sheets for each fixture. The by the Director. of Planning and Building
exterior lighting plan shal] be subject to the approval of the Inspection.
Director of Planning and Building Inspection prior to issuance
of building permits. (Planning and Building inspection)

240. PUBLIC UTILITIES AND SERVICES Applicant shall incorporate this Applicant On-going
All landscaped areas shall be continuously maintained by the | requirement into maintenance operations.
applicant and all plant material shall be continuously
maintained in a litter-free, weed-ftee, healthy, growing
condition. (Planning and Building Inspection and Public
Works)

USE PERMIT CONDITIONS FOR TREE REMOVALS

241, TREE AND ROOT PROTECTION Submit evidence of tree protection to Applicant Prior to
Trees which are located close to the construction site(s) shall | Planning and Building Inspection issuance
be protected from inadvertent damage from consteuction of

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equipment by fencing off the canopy driplines and/or critical
root zones (whichever is greater) with protective materials,
wrapping trunks with protective materials, avoiding fill of any
type against the base of the trunks and avoiding an increase in
soil depth at the feeding zone or drip-line of the retained trees,
Said protection shall be demonstrated prior to issuance of
building permits subject to the approval of the Director of
Planning and Building Inspection. Reference Permit
Condition No. 4. (Planning and Building Inspection)

building
permits

242.

RECLAIMED WATER - HYDROGEOGLOGIC STUDY
Prepare a hydrogealogic study for the Butterfly Village areca
to characterize the underlying groundwater basin and evaluate
the overall projected impacts of the use of reclaimed water on
the drinking water supply at the recharge levels projected for
the development. The developer shall consult with the
California Regional Water Quality Control Board
(CRWQCB) and the California Department of Health
Services (CDHS) to determine if.a permit is required for a
planned Groundwater Recharge Reuse Project (GRRP),
Obtain and meet all permitting requirements for a GRRP if
required by CDHS. (Planning and Building Inspection,
Public Works, Water Resources Agency, and
Environmental Health)

Applicant’s Engineer shall submit a
hydrogeologic study and a GRRP if
required to Environmental Health,
CDHS, and the CRWQCB

Applicant's
Engineer

Prior to
filing Final
Map

243.

SL

-l

Agriculture: Prior to the approval of a tentative map for any
development adjacent to an existing agricultural operation
outside of the boundary of the specific plan, the applicant
shall submit plans and supporting documentation

Applicant shall submit plans with
supporting documentation for review and
approval hy the County

Applicant

Prior to the
approval of
tentative

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demonstrating that a 200-foot agricultural buffer will be
provided as set forth in Section 7.11 (Agricultural Buffers) of
the Rancho San Juan Specific Plan. The plans and supporting
documentation shall be subject ta review and approval by the
Monterey County Planning and Building Inspection
Department and Agricultural Commissioner's Office.

map

244,

3.4-5a

DUPLICATE

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245,

5.6- le

NOISE
Galf course maintenance operations shall prohibit greens
mowing within [25 feet of any residence and fairway mowing
within 200 feet of any residence between the hours of 10:00
p.m. and 6:30 a.m. in accordance with Table 5.6-1 of the EIR.

Applicant shall not engage in mowing of
golf course greens between 10 p.m. and
6:30 a.m,

Applicant

Ongoing

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246. 5. 72a AIR QUALITY Applicant shall provide bicycle paths and | Applicant Prior to
Pravide bicycle paths within major subdivisions that link to an | sidewalks throughout the subdivision recordation
external network. Provide sidewalks to encourage pedestrian of final map
movement.

248, 5.8-Fa SOILS AND GEOLOGY Soils engineer shall prepare a detailed Soils Prior to
Prior to approval of the final map, a qualified soils engineer | analysis of site characteristics and engineer/appli | approval of
shall prepare a detailed analysis of specific characteristics and [| recommend measures for appropriate cant the final
capabilities of underlying soils and shall identify potential | design. map
geologic hazards. The report shall recommend, and the
applicant shall implement, appropriate measures for the
design of proposed structures to minimize property damage
and safety hazards related to ground shaking and unstable or
expansive soils to below a level of significance.

249. 5.9=3 HYDROLOGY/WATER QUALITY Applicant shall prepare a golf course Applicant Prior to
Prior to issuance of a grading permit for the golf course, the | management pian issuance of
applicant shall prepare a Golf Course Management Plan. The a grading
Management Plan shall include, but not be limited to, the permit

following elements.

* The use of a state-of-the-art irrigation system that
can (1} calculate the evaporative loss which occurs
since the last irrigation cycle; (2) tefl each sprinkler
head how much to apply to replace the lost water; (3)
apply water at a rate that will prevent runoff: (4)
regulates pressure at each head to get maximum
uniformity of water distribution and; and (5) allow
the field staff to make site adjustments to compensate
for shade, slope, sun exposure, etc,

* The reintroduction of drainage discharge water to the
atmosphere to biodegrade nutrients and pesticides
prior to the water entering drainage discharge
channels.

e The engagement of an experienced, Certified Golf
Course Superintendent capable of effectively

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managing the golf course using the principles of
Integrated Pest Management.

The use of a computer controlled boom sprayer to
apply all approved nutrient sprays and biacides to the
golf course.

The adherence to Federal, State and County Laws
concerning the selection, storage, loading, use and
disposal of regulated biocides.

The construction of a state-of-the-art maintenance
facility for storage of pesticides and herbicides.

Pests would be controlled, not eradicated, using a
variety of cultural, biological, and mechanical
practices. Pesticide applications would be made only
when there is no alternative measure of control,
Applications would not be made in winds In excess
of five miles per hour unless a spray shroud is used.

Notification of the application of a pesticide would
be made in accordance with California State Posting
Laws.

Green waste shall be composted and reused or
transported to an appropriate landfill disposal site.

The drainage system within the golf shall be
designed to pick up low flow runoff and direct it into
golf course water features to allow natural filtration
of water pollutants to occur. Where water features
are not propased, low flow runoff would be directed
to bicfiltration areas.

The use of a Certified Pesticide Applicator to apply

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the recommended biocide to the target pest.

250.

5,10-la

WATER RESOURCES

Prior to approval of any tentative map or use permit within the
Specific Plan area, a proundwater supply analysis shall be
completed. The analysis shall estimate the annual demand for
groundwater associated with existing developed areas within
the Rancho San Juan Specific Plan area as well as the amount
of groundwater consumed by ongoing agricultural operations
or other uses unrelated to development pursuant to the

Specific Plan. Use of reclaimed water shall not be counted as |-

groundwater demand. The sum of these groundwater demand
sources shall be subtracted from the maximum annual allowed
consumption of 3,370 af to determine the amount of supply
available for the development contained on a proposed
tentative map or use permit. If the supply is insufficient to
meet the anticipated demand of a proposed development, the
project applicant shall demonstrate, to the satisfaction of the
County, that agricultural consumption will be proportionately
reduced within the Specific Plan area or a supply of potable
water not related to groundwater has been secured; either one
of these methods shall be guaranteed in perpetuity. Water
Resources Agency.

Applicant shall submit a groundwater
supply analysis for review and approval
by the County

Applicant

Prior to
approval of

the tentative

map.

251

5. 1-9

LAND USE

Concurrent with the approval of the Specific Plan, the GSAP
shall be amended to add additional text to page 91 allowing
exceptions to the height and lot coverage standards excluding
parking and landscaping requirements for Rancho San Juan,
(Planning and Building Inspection)

County will initiate amendment of
Greater Salinas Area Pian (GSAP).

County

252

5.4-7b

BIOLOGY

Prior to the approval of a Tentative Map which would require
removal of three or more oak trees protected by Monterey
County (e.g. 6-inches or more in diameter), a Forest
Management Plan shall be prepared as required by Monterey

Forest Management Plan to be prepared
by qualified registered forester.

Applicant

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County Zoning Code section 21.64.2600. The Forest
Management Plan shall indicated the location of the protected
trees to he removed for grading and/or construction, as well as
protected trees that will not be removed but are adjacent to
grading and/or construction limits (ie. within twenty feet).
All recommendations fro tree replanting, protection of trees
not proposed for removal, and management measures
included in the Forest Management Plan shail be included as
conditions of project approval. (Planning and Building
Inspection}

253

5.6-5¢

NOISE (Use Permit for Golf Course)

Goif Course maintenance operations shall prohibit greens
mowing within 125 feet of any residence and fairway mowing
within 200 fect of any residence between the hours of 10:00
p.m. and 6:30 a.m.

Applicant shall incorporate requirements
into golf course maintenance operations.

Applicant and
Golf Course
Operatar

On-going

254

5.7-26

AIR QUALITY
Provide on-site childcare centers

Applicant shall provide physical space
for operation of childcare centers.

Applicant

255

5.1 2-lele

PUBLIC SERVICES AND UTILITIES

Prior to issuance of final permits for the wastewater treatment
facility, a mosquito abatement plan shall be submitted to the
Environmental County Health Department and to the
Monterey County Mosquito Abatement District for review
and approval to reduce potential impacts from proposed
reclaimed water impounds.

Applicant shall prepare a Mosquito
Abatement plan.

Applicant

256

5.12.9-2

PUBLIC SERVICES AND UTILITIES

1, Levels of lighting, although muted to conform to the
residential character of the setting will be incorporated
inta the ptoject design to facilitate patrol performance;

2. Landscaping will be designed so as not to limit visibility
of the homes for patral purposes and residential security;

3. Address numbering will be consistent and a street guide
will be provided at the entrance of residential
subdivisions/muiti-family complexes;

4,__ Doors surrounded by glass will be equipped by double

Applicant shall prepare a security pian
for the review and approval of the
Monterey County Sheriff.

Applicant

Prior ta
Certificate
of
Occupancy

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deadbolts, Single-cylinder deadbolts will be placed on
all other doors, Sliding glass doors will have auxiliary
locking devices; and

5. Residents who intend to incorporate alarm systems into
their homes wiil be advised of the Sheriff's Department
and Communication Department policies and asked to
consult with representatives of these two departments
prior to installation-of such systems, According to
County Ordinance, alarm systems must be registered
with the Sheriff's Department prior to installation.

misceflaneous equipment to provide adequate facilities for all
existing and future utilities including but not limited to gas,
electric, water, sewer, telephone, cable TV, broadband
telecommunications, video on demand, and other high speed
internet connections. The applicant shall provide can and will
serve letters from the various service providers by phase of
the development. All underground improvements shall be
shown on the subdivision improvement plans. A California
Land Surveyor or a California Professional Engineer in Civil
Engineering shall provide certification as to location and
depth of all underground facilities through completion of “As
Built” drawings. (Public Works)

257 51-14 Prior to approval of tentative map, the project applicant shall | Applicant shail demonstrate agreement /|Applicant Prior to
demonstrate to the satisfaction of the County that public to pay all relevant fees and indicate Approval of
services are adequate to meet the needs of the proposed which service would be provided by a Tentative
development Community Services District. Map

258 To ensure adequate financing of the OMP during early phases | Applicant shall submit agreement to Applicant Prior to
of the development, applicant shall develop, execute and Public Works “recordation
record an agreement with the CSD to finance incremental of final map
costs of OMP servicés over that amount collected as
assessments of the CSD until such time that the assessments
are adequate to fully finance costs of the OMP (Public
Works)

259 The applicant shali coordinate the installation of underground | Applicant shal) submit can and serve Applicant Prior to
utility facilities within the development to include pipes, letters to Public Works recordation
valves, pumps, multi-duct conduit, pull boxes, vaults, and of final map

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260

3,.9-5b

Prior ta approval of a tentative map or use permit within the Applicant shall submit detailed drainage [Applicant Prior to
Specific Plan area, the applicant shall submit a detailed study to Public Works Approval of
drainage study as set forth in Section 6.4.4 (Storm Water tentative
System Design) of the Rancho San Juan Specific Plan. The map or use
study shall be submitted for review and approval by the permit
Monterey County Public Works Department, Water
Resources Agency, Environmental Health Division and the
Planning and Building Inspection Department. The purpose
of the study is to determine the best percolation sites for the
storm water detention facilities. The study shall include
additional soil borings to augment the preliminary boring
program that was previously conducted
261 5.7-2h Contribute funding to MCAPCD sufficient to repower nine Submit evidence of MBUAPCD Applicant Prior to
existing agricultural pumps to offset NOx emissions approval to Planning and Building issuance of
Inspection building
permit
262 5.12.62 PARKS - Submit evidence of compliance to PBI = [Applicant Prior to
Prior to issuance of a grading permit, the applicant shall issuance of
implementation Mitigation Measures 5.4-1 through 5.4-5 grading
(except for 5.4~1a and 5.4-2), 5.5-1 through 5.5-3, and 5.9-1, permit or
5.9-4B, and 5.9-5 of the Specific Plan. (Planning and approval of
Building Inspection) final map
263 5.7—3 AIR QUALITY Submit evidence of MBUAPCD Applicant Prior to
NOTE ON FINAL MAP: Prior to issuance of a building approvel to Planning and Building issuance of
permit for the wastewater treatment plant, the MBUAPCD Inspection building
shall review and approve odor control devices in accordance permit
with Rule 216. Use Permit for Waste Water Permit. (Planning
and Building Inspection)

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DEV030i and PLNO20470

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